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-v- 03-10017-01-T litig usi ill r£w?,.

CLOTHEL GARNER

Carthe|l L. Smith Jr. Retained
Defense Attorney

85 East Church Street
Lexington, TN 38351

 

 

AMENDED JUDGMENT |N A CRIM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the |ndictment on July 15, 2003. According|y,
the court has adjudicated that the defendant' is guilty of the following offense(s):

Date Offense Count

Title & Section MM Conc|uded Number(s)
21 U.S.C. § 841(a)(1) Possession of l\/|ethamphetamine 01124/2003 ‘l

with lntent to Distribute

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 07/18/1961 July 20, 2005
Deft’s U.S. |Viarshal No.: 18705-076

Defendant’s l\/|ai|ing Address:
46 Cooper Park Lane
Huron, TN 38345

CPVWMY>'M

JAl\/|E . TODD
CH|E N|TED STATES D|STR|CT JUDGE

Ju|y &2 ,2005
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IMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 100 N|onths.

The Court recommends to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Nlarsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgmentl
UN|TED STATES MARSHAL
By:

 

Deputy U.S. |V|arsha|

Upon release from imprisonment, the defendant shall be on supervised release for
3 f€rl:'aseféor§erslool?-JDT Document 56 Filed 07/22/05 Page 3 of 7 PagelD 61

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit anotherfederal, state

or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. the defendant shall not leave the judicial district without the permission ofthe court or probation ocher;

2. the defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. the defendant shall answertruthful all inquiries by the probation ocher and follow the instructions of
the probation officer;

4. the defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. the defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. the defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or othercontrolled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. the defendantshai| not frequent places where controlled substances are illegally sold, used, distributed,
or administered;

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SUPERV|SED RELEASE

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8. the defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law
enforcement officer;

11. the defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. as directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to connrm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgment

ADD|TIONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions ofsupervised release:

1. The defendant shall participate as directed in a program of testing and treatment for drug
andi'or alcohol abuse as directed by the probation officer, until such time as the defendant is
released from the program by the probation officer.

2. The defendant shall cooperate as with the collection of DNAD.

CRIM|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in
accordance with the schedule of payments set forth in the Schedule of Payments. The
defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine
or restitution is paid in full before the fifteenth day after the date of judgment pursuant to
18 U.S.C. § 3612(f). A|l of the payment options in the Schedule of Payments may be
subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00

The Special Assessment shall be due immediately

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FlNE
No fine imposed.
REST|TUT|ON

No Restitution was ordered.

DISTRIC COURT - WESTERN D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 56 in
case 1:03-CR-100]7 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

Carthel L. Smith

LAW OFFICES OF CARTHEL SMITH, IR.
85 E. Church Street

Lexington, TN 38351

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

